      Case 2:12-cv-09014-AJW Document 12 Filed 01/25/13 Page 1 of 1 Page ID #:36




 1

 2

 3

 4

 5
                                 UNITED STATES DISTRICT COURT
 6
                               CENTRAL DISTRICT OF CALIFORNIA
 7

 8   AMY GIMBLE,                                  )   CASE NO.: 12-CV-09014-AJW
                                                  )
 9                         Plaintiff,             )
10
                                                  )
       v.                                         )   JUDGMENT GRANTING
11                                                )   DEFENDANT’S OFFER OF JUDGMENT
     AARGON COLLECTION AGENCY and                 )
12   DOES 1 though 10, inclusive                  )
13
                                                  )
                           Defendants.            )
14
     Based on the Plaintiff’s Acceptance of the Offer of Judgment made by Defendant AARGON
15
     COLLECTION AGENCY filed on January 11, 2013, IT IS HEREBY ORDERED, ADJUDGED
16
     AND DECREED, that:
17
            1. Defendant allows judgment to be taken against Defendant and in favor of Plaintiff;
18
            2. Judgment shall be entered in the amount of $2,002.00 for Plaintiff;
19
            3. Judgment shall be entered for reasonable attorney’s fees and costs in connection with
20
               Plaintiff’s action and are to be added to the Judgment as against Defendant. Said fees
21
               and costs are to be in an amount to be agreed upon by counsel for the parties; or if the
22
               parties are unable to reach an agreement, then fees and costs shall be determined by
23
               the Court, upon Motion within 30 days;
24

25          IT IS SO ORDERED.
26

27   Dated: 1/25/13                              ____________________________________

28                                               U. S. Magistrate Judge Andrew J. Wistrich


                                          [PROPOSED] JUDGMENT
